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                                              [Dkt. Nos. 99, 113, and 121]

                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

      THE HOMESOURCE, CORPORATION,

                       Plaintiff,
                                         Civil No. 18-11970-ECR-KMW
               v.

      RETAILER WEB SERVICES, LLC et
      al.,

                       Defendants.


                                      ORDER

          THIS MATTER having come before the Court upon the first Motion

  [Dkt. No. 99] by Defendant Retailer Web Services, LLC (“RWS”),

  pursuant to Local Civil Rule 5.3, seeking an Order sealing portions

  of Plaintiff The HomeSource, Corp.’s (“HomeSource”) Motion for Leave

  to File a Second Amended Complaint [Dkt. Nos. 87 and 88], RWS’s

  Response in Opposition [Dkt. No. 89], HomeSource’s Reply in Support

  [Dkt. No. 92], and RWS’s Letter requesting permission to file a

  Sur-Reply [Dkt. No. 94] (collectively the “Confidential Materials”),

  which are under temporary seal.1 Specifically, RWS seeks to redact

  and seal portions of the Confidential Materials that reference “the



  1 The Court notes that RWS’s Motion to Seal [Dkt. No. 99] seeks to
  seal Docket Numbers 87, 88, 89, 92, and 94. This appears to reflect
  a critical error, as only Docket Numbers 88 and 89 are under temporary
  seal. Docket Numbers 87, 92, and 94 are not under temporary seal and
  are in fact redacted versions of Docket Numbers 88, 93, and 95
  respectively.
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  relationships and alleged relationships between RWS and various

  corporate non-parties.” HomeSource opposes the Motion.

        The Court further notes that RWS filed two additional Motions

  to Seal [Dkt. Nos. 113 and 121].         These additional Motions to Seal

  similarly seek an Order sealing materials that reference “the

  relationships and alleged relationships between RWS and various

  corporate non-parties.”     Specifically, RWS’s second Motion to Seal

  [Dkt. No. 113] seeks to seal portions of HomeSource’s Letter

  opposition to RWS’s August 16, 2019 Letter [Dkt. Nos. 108 and 109]

  (also encompassed in the “Confidential Materials”).2 Further, RWS’s

  third Motion to Seal [Dkt. No. 121] seeks to seal portions of

  HomeSource’s Motion for Sanctions and Exhibits, RWS’s Response in

  Opposition, and HomeSource’s Reply in Support [Dkt. Nos. 106, 107,

  114, 115, 118, and 119] (also encompassed in the “Confidential

  Materials”).3 HomeSource opposes both Motions.

        The Court has considered the papers in support of the three

  Motions to Seal and held a hearing on October 8, 2019.         Pursuant to

  Local Civil Rule 5.3 the Court may restrict public access to any




  2 The Court notes that Docket Number 108 is not under temporary seal
  and is merely a redacted version of Docket Number 109.
  3 The Court notes that RWS’s Motion to Seal [Dkt. No. 121] seeks to

  seal Docket Numbers 106, 107, 114, 115, 118, and 119. However, Docket
  Numbers 106, 114, and 118 are not under temporary seal and are in
  fact merely redacted versions of Docket Numbers 107, 115, and 119
  respectively.
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  materials or judicial proceedings upon request by any party, however,

  good cause has not been shown, thus the Motions are DENIED.

        Local Civil Rule 5.3 governs requests to seal documents filed

  with the Court.     Instructively, the Rule dictates that the party

  seeking to seal documents must describe (a) the nature of the materials

  at issue; (b) the legitimate private or public interests which warrant

  the relief sought; (c) the clearly defined and serious injury that

  would result if the relief sought is not granted; and (d) why a less

  restrictive alternative to the relief sought is not available.           L.

  Civ. R. 5.3(c)(3).      While it is within the Court’s authority to

  restrict public access to information, it is well-settled that there

  is a “common law public right of access to judicial proceedings and

  records.” In re Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). The

  moving party bears the burden to overcome this presumption of public

  access and must demonstrate that “good cause” exists for the

  protection of the material at issue.     Pansy v. Borough of Stroudsburg,

  23 F.3d 772, 786 (3d Cir. 1994).   Good cause exists only when the moving

  party makes a particularized showing that disclosure will cause a

  “clearly defined and serious injury.”           Id.   Good cause is not

  established where a party merely provides “broad allegations of harm,

  unsubstantiated by specific examples or articulated reasoning.”         Id.

  (quoting Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d

  Cir. 1986)).

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        RWS claims the Confidential Materials concern “proprietary

  commercial and business information.”          RWS’s Proposed Findings of

  Fact and Conclusions of Law (“RWS’s Facts and Law”), [Dkt. No. 99-1],

  at 2, ¶4.    In actuality, however, the Confidential Materials are

  merely RWS’s business relationships with various non-parties.            RWS

  is “concerned that, should the nature of its relationships become

  public, HomeSource and RWS’s other competitors could interfere with

  RWS’s   customer   relationships    or     adopt   RWS’s   business   model.”

  Declaration of James H. Kane, Jr. (“Kane Dec.”), [Dkt. No.100], at

  5, ¶9. RWS further argues that disclosure could negatively impact

  RWS’s competitive standing in the industry and legitimate business

  interests.   Id. at 5-7 ¶¶8-13.

        In support of this position, RWS contends that “trade secrets”

  and other confidential information like research, development, and

  commercial information warrant protection, citing to: (A) In re

  Cendent, 260 F.3d at 194, granting the sealing of trade secrets or

  other    confidential     research,       development,     or   confidential

  information; (B) In re Gabapentin Patent Litig., 312 F. Supp. 2d 653,

  664 (D.N.J. 2004), finding that the “protection of a party’s interest

  in confidential commercial information, such as a trade secret,” is

  well-settled; and (C) Castro v. Sanofi Pasteur, Inc., No. 11-7178,

  2015 WL 4064644, at *3 n.3 (D.N.J. July 2, 2015), granting a motion

  to seal “highly sensitive and confidential information relating to

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  ... business practices,” specifically, “(1) material relating to

  contract terms and pricing programs offered to its customers to be

  eligible to earn administrative fees, rebates, or discounts; and (2)

  Defendant’s current and high-ranking employees’ individual contact

  information, including e-mail addresses and phone numbers.”          RWS’s

  Facts and Law, [Dkt. No. 99-1], at 3-5, ¶¶7-8; RWS’s Reply in Support

  of Motion to Seal, [Dkt. No. 102], at 2.

        In   opposition,    HomeSource     argues   that   RWS’s    business

  relationships are not entitled to protection from public disclosure.

  HomeSource claims that RWS has not demonstrated good cause under L.

  Civ. R. 5.3(c)(3), and HomeSource further argues that RWS’s business

  relationships are in fact already publicly available and published

  online.    HomeSource, accordingly, avers that information published

  online, accessible by the general public, is not entitled to

  protection.

        Taking this into account, the Court finds that RWS has not

  sufficiently established that the Confidential Materials should be

  restricted.      The   Motion    seeks   to   protect    RWS’s   “business

  relationships” from disclosure, yet fails to establish that a business

  relationship is entitled to protection.           Neither RWS’s Proposed

  Findings of Facts and Conclusions of Law nor the Declaration of RWS’s

  Chief Executive Officer, James H. Kane, Jr., claim that a business

  relationship is a trade secret.      Further, although, RWS claims its

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  business relationships are confidential commercial information, RWS

  fails   to   provide   specific   legal   authority   that   supports   the

  proposition that business relationships are in fact confidential

  commercial information.     Accordingly, at this time, the Court finds

  that the business relationships, ownership interests, business entity

  structures, and/or corporate governance structures4 between RWS and

  the non-parties are not trade secrets or confidential commercial

  information entitled to protection.

        The Court ultimately concludes that RWS’s Motion has not

  established good cause.     Pursuant to Local Civil Rule 5.3(c)(3)(c),

  RWS has not demonstrated that a clearly defined and serious injury

  would result if protection is denied.           Although RWS’s Proposed

  Findings of Fact and Conclusions of Law states that “disclosure would

  damage [RWS’s] business interests,” this statement is general,

  overbroad, and conclusory.     Similarly, RWS claims disclosure of the


  4The Court finds that the term business relationship is imprecise
  and does not fully represent the detail and nuance as to the precise
  nature of RWS’s “business relationships” with the non-parties. The
  overbroad term “business relationship” employed by RWS is unclear
  and brings to issue the business organizational and/or ownership
  structure between RWS and the non-parties. Although, at the hearing,
  counsel for RWS attempted to clarify and define the nature of RWS’s
  relationships with the non-parties, this was insufficient to satisfy
  the Court’s concerns. Because RWS seeks to seal the Confidential
  Materials, RWS must define and establish to the Court’s satisfaction
  what the Confidential Materials in fact concern. Moreover, the Court
  should not have to search throughout the Docket to piece together
  information to attempt to define RWS’s business relationships.
  Rather, it is RWS’s burden as the movant to provide a Motion that
  clearly defines the materials RWS seeks to restrict.
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  Confidential Materials: (1) “could interfere with RWS’s customer

  relationships,” (2) “could ... [enable others to] adopt “RWS’s

  business model,” or (3) “could negatively affect RWS’s competitive

  standing   in   the   industry.”    The   Motion,    therefore,   does   not

  demonstrate a particularized showing that disclosure will cause a

  clearly defined and serious injury.       To substantiate the claims that

  disclosure “would” cause harm, RWS needs to better explain the “how.”

  Namely, how RWS’s standing in the industry would be negatively

  affected, how others adopting RWS’s business model would cause RWS

  harm, and how disclosure would interfere with RWS’s customer

  relationships.        Without   further   analysis   and   support,   RWS’s

  statements are too speculative and conclusory.             Simply put, the

  Motion does not cite to any specific examples of harm that would

  result, and, for that reason, RWS’s averments do not satisfy its burden

  under Rule 5.3 and applicable case law.

        Moreover, RWS has not established that the nature of the

  materials at issue warrants protection.       See L. Civ. R. 5.3(c)(3)(a)

  and (b).   As noted above, the Confidential Materials are so-called

  “business relationships,” a term the Court finds to be overbroad and

  unclear.   Since RWS’s Motion does not clearly and plainly define RWS’s

  business relationships with the non-parties, the Motion fails to

  define the nature of the materials at issue.     In addition, and as noted

  above, despite RWS’s claims that the Confidential Materials are

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  confidential commercial information, RWS has not established that

  a   business   relationship    is   in   fact   confidential   commercial

  information or a trade secret.      Thus, RWS has not demonstrated that

  the Confidential Materials warrant protection.

        ACCORDINGLY, IT IS on this 11th day of October, 2019, hereby

        ORDERED that RWS’s Motions to Seal, [Dkt. Nos. 99, 113, and 121],

  shall be DENIED without prejudice.           However, the Confidential

  Materials shall remain sealed temporarily as explained below; and

  it is further

        ORDERED that, all future motions to seal and papers filed under

  seal shall comply with Local Civil Rule 5.3.       As there appears to be

  confusion among the parties on this issue, the Court provides the

  following explanation to clarify the proper procedure for filing a

  Motion to Seal:

        A Motion to Seal must include:

           a) Motion: The Motion to Seal must be filed as a single,
              consolidated Motion made on behalf of all parties; L. Civ.
              R. 5.3(c)(1);

           b) Brief: No brief is necessary in support or opposition to
              the Motion to Seal unless a party believes it will assist
              the Court; L. Civ. R. 5.3(c)(1);

           c) Affidavit: An affidavit, declaration, certification or
              other document of the type referenced in 28 U.S.C. § 1746,
              which shall be based on personal knowledge as required by
              Local Civil Rule 7.2(a); L. Civ. R. 5.3(c)(3);

           d) Index: An index, substantially in form suggested by
              Appendix U, describing with particularity:

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                i. The nature of the materials or proceedings at issue;

              ii. The legitimate private or public interests which
                  warrant the relief sought;

             iii. The clearly defined and serious injury that would
                  result if the relief sought is not granted;

              iv. Why a less restrictive alternative to the relief
                  sought is not available;

                v. Any prior order sealing the same materials in the
                   pending action; and

              vi. The identity of any party or nonparty known to be
                  objecting to the sealing request.

              The index shall also include, as to each objection to seal
              any material:

             vii. The materials to which there is an objection;

            viii. The basis for the objection; and

              ix. If the material or information was previously sealed
                  by the Court in the pending action, why the materials
                  should not be maintained under seal.

              The Rule does not suggest that an opposing party can submit
              an opposition index. Thus, if there is an objection, the
              parties should meet and confer to define the contents of
              index numbers (vii), (viii), and (ix). See L. Civ. R.
              5.3(c)(3)); and

           e) Proposed Order: The Proposed Order shall include a Proposed
              Findings of Fact and Conclusions of Law. The Proposed
              Findings of Fact and Conclusions of Law must address all
              of the aforementioned factors of Local Civil Rule
              5.3(c)(3). Any party opposing the sealing request shall
              submit an Alternative Proposed Order including the opposing
              party’s Proposed Findings of Fact and Conclusions of Law.
              See L. Civ. R. 5.3(c)(3) and (6).




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        In addition, the Court also provides the following explanation

   to clarify the proper chronology and general procedure to seal an

   “EXHIBIT” that is attached to a Motion:

     (1)   An unredacted or “clean” version of the EXHIBIT, the Motion
           itself, and all other accompanying exhibits, certifications,
           documents,    etc.    (collectively   the    “Motion”)   are
           electronically filed on the docket under temporary seal
           [Docket Number __]. See Local Civil Rule 5.3(c)(4);

     (2)   Within 1 day of filing the Motion, the movant shall
           electronically file the Motion with a redacted version of the
           EXHIBIT that removes the allegedly confidential information
           from public view. See Local Civil Rule 5.3(c)(4);

     (3)   No later than 21 days after the Motion is filed, the movant
           shall confer with the opposing party in an effort to narrow
           or eliminate the materials or information that may be the
           subject of a Motion to Seal.        See Local Civil Rule
           5.3(c)(2)(i);

     (4)   The movant must file a Motion to Seal within 14 days following
           the completed briefing of the materials sought to be sealed
           or as may be ordered by the Court.           See L. Civ. R.
           5.3(c)(2)(ii);

     (5)   The Motion to Seal and all supporting papers to seal or
           otherwise restrict public access must be available for review
           by the public (meaning the motion, affidavit, index, and all
           other papers shall not to be filed under temporary seal). See
           Local Civil Rule 5.3(c)(1);

   This step-by-step instruction details the deadlines, filings, and

   processes the parties must follow in all subsequent attempts to

   restrict public access; and it is further

        ORDERED that RWS may file an Omnibus Motion to Seal no later

   than November 8, 2019.    The Omnibus Motion shall correct RWS’s prior

   Motions to Seal [Dkt. Nos. 99, 113, and 121].      Rather than directing

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   RWS to refile each motion separately, the Court instructs RWS to submit

   one Omnibus Motion to Seal that addresses each docket entry concerning

   and/or referencing “business relationships” that RWS seeks to seal.5

   The parties shall meet and confer to coordinate the Omnibus Motion.

   If the Omnibus Motion is not timely filed, the Clerk of the Court

   is directed to unseal Docket Numbers: 88, 89, 93, 95, 96, 100, 102,

   104, 107, 109, 115, and 119,      as well as any other documents that

   accompany these docket entries.      Said materials shall remain under

   temporary seal, pending the Court’s review and consideration of the

   Omnibus Motion; and it is further

        ORDERED that RWS shall file a certified statement that fully

   and unambiguously defines the exact ownership interests, business

   entity structures, and any and all business relationships between

   RWS and the non-parties, no later than November 7, 2019.    The certified

   statement shall be filed under temporary seal and must be filed


   5 As previously noted, RWS’s Motions to Seal [Dkt. Nos. 99, 113, and
   121] appear to reflect several errors. For example, the first Motion
   to Seal [Dkt. No. 99] sought an Order sealing Docket Numbers 87, 88,
   92, and 94, yet only Docket Numbers 88 and 89 are under temporary
   seal. Docket Numbers 87, 92, and 94 are not under temporary seal and
   are in fact redacted versions of Docket Numbers 88, 93, and 95
   respectively. Docket Numbers 93 and 95 are under temporary seal, yet
   RWS did not file any motion(s) to seal these materials within the
   required time period—which would normally result in an Order unsealing
   the materials. The record, therefore, appears to reflect that RWS’s
   Motion to Seal in fact sought to seal Docket Numbers 88, 89, 93, and
   95. The Court shall keep Docket Numbers 88, 89, 93, and 95 under
   temporary seal to avoid unduly punishing RWS for what appears to be
   a mistake. RWS, however, must clearly identify the Docket Numbers
   the Omnibus Motion seeks to seal.
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   separately from the Omnibus Motion and cannot be filed in support

   of the Omnibus Motion.   See Local Civil Rule 5.3(c)(1).      The Omnibus

   Motion to Seal shall include the statement as one of the documents

   RWS seeks to seal; and it is further

              ORDERED that Docket Numbers 96, 100, 102, and 104 shall

   remain under temporary seal.     The parties failed to file motions to

   seal these materials.    Insofar as these materials pertain to RWS’s

   desire to seal information concerning RWS’s business relationships,

   then RWS shall include Docket Numbers 96, 100, 102, and 104 in the

   Omnibus Motion to Seal.      Insofar as said docket entries include

   different information, then the parties shall file proper motion(s)

   to seal no later than November 8, 2019.      The parties shall meet and

   confer and coordinate regarding this sealing.        If the motion(s) to

   seal is not timely filed, the Clerk of the Court is directed to unseal

   Docket Numbers 96, 100, 102, and 104, as well as any other documents

   that accompany these Docket Numbers.          Accordingly, said docket

   entries shall remain under temporarily seal, pending the Court’s

   review and consideration of the motion(s).



                                        s/ Karen M. Williams
                                        KAREN M. WILLIAMS
                                        United States Magistrate Judge


   cc:   Hon. Eduardo C. Robreno, U.S.D.J.


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